Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 1 of 6
Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 2 of 6
Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 3 of 6
Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 4 of 6
Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 5 of 6
Case 3:08-cr-00164-DPJ-JCS   Document 67   Filed 10/02/09   Page 6 of 6
